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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW
                                       YORK

  In re Terrorist Attacks on September 11, 2001       03 MDL 1570 (GBD) (SN)
                                                      ECF Case


This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
Bauer et al. v. al Qaeda Islamic Army, et al., 02-cv-7236 (GBD(SN)
Ashton et al. v. The Kingdom of Saudi Arabia, 17-cv-2003 (GBD)(SN)

                  MOTION TO SUBSTITUTE PARTIES PURSUANT TO
                    FEDERAL RULE OF CIVIL PROCEDURE 15(d)

        Pursuant to Federal Rules of Civil Procedure 15(d), Bauer Plaintiffs herein move the

Court to allow substitution of the parties as identified on Exhibit A in the above referenced

actions. Each individual being substituted into the case is the Personal Representative of a

deceased family member of an individual killed as a result of the terrorist attacks on

September 11, 2001 (a “9/11 decedent”) or substituting the Personal Representative for a

deceased family member of a 9/11 decedent.

        Exhibit A identifies the individuals to be substituted in the pleading, including the

capacity in which they seek to be substituted, state of residency of at the time the complaint

was filed, the 9/11 decedent to which the deceased family member is related to, and the

existing pleading that refers to the plaintiff.

      Plaintiffs propose that, upon endorsement of Plaintiffs’ Proposed Order, the

substituted parties be individually entered as a Plaintiff into the Court’s ECF system by

to ease the burden on the Clerk of the Court’s Office due to the size of this MDL.




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Dated: September 2, 2022                  /s/ Dorothea M. Capone, Esq.
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